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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


   UNITED STATES OF AMERICA                   Case No. 8:24-cr-68-KKM-TGU

    v.

   TIMOTHY BURKE


                     DEFENDANT TIMOTHY BURKE’S
                   MOTION FOR RECONSIDERATION OF
             THE COURT’S ORDER MAKING THE PUBLIC NATURE
             OF COMMUNICATIONS AN AFFIRMATIVE DEFENSE

         In its April 14, 2025 Order denying Mr. Burke’s Motion to Dismiss, (Doc.

  110, p. 21) the court found, as a matter of law, that, stripped of what the Court calls

  “affirmative defenses” under 2511(2)(g)(i), the statute, 18 U.S.C. § 2511(1)(a)

  “defines a perfectly cogent offense” which punishes anyone who “intentionally

  [acquires the contents of] a wire, oral, or electronic communication.”

         Rather than being a “perfectly cogent offense,” the stripped statute is

  unconstitutionally overbroad, and creates criminal liability to the “merely

  curious” who click on a hypertext link on a publicly accessible web page. Snow v.

  DirecTV, Inc., 450 F. 3d 1314 (11th Cir., 2006). If “intentionally acquiring the

  contents of an electronic communication” is, in fact, a crime, then the statute is

  unconstitutional on its face, and criminally punishes a host of protected activities.

  It does not survive scrutiny - strict, intermediate, or ordinary. Congress is without
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  the power to make it a crime to “acquire the contents of a communication” as the

  Court suggests it has. 1 While the court notes that “Burke cites not a single instance


  1
    Attempting to draft jury instructions based on the court’s holding illustrates the problem. There
  is simply no way to draft such an instruction that does not raise insurmountable constitutional
  problems. By way of example:

         You are instructed that, if you find that the government has proven that Mr. Burke
         (1) intentionally; (2) “acquired the contents”; (3) of an electronic communication
         you must find him guilty of these charges. If you further find that he “disclosed”
         the contents of a communication he acquired, you must also find him guilty of
         those offenses. Any intentional acquisition of the contents of an electronic
         communication in interstate or foreign commerce violates the law. This includes
         any transfer of signs, signals, writing, images, sounds, data, or intelligence of any
         nature transmitted in whole or in part by a wire, radio, electromagnetic,
         photoelectronic or photooptical system that affects interstate or foreign commerce.

         Mr. Burke has the burden of proving whether or not the communications allegedly
         acquired were made through an electronic communication system that was
         configured so that such electronic communication was readily accessible to the
         general public. That burden never shifts to the government. Mr. Burke is in a
         “better position” to adduce evidence about how he acquired the contents of the
         communication, and therefore, the law imposes on him the burden to do so. The
         government has no burden of proving whether or not such communications were
         or were not readily accessible - only that the defendant “acquired” the contents of
         the communications. If you find that Mr. Burke has proven, by [a preponderance
         of the evidence?] that the communication was readily accessible to the general
         public, you [may/must?] find him not guilty.

  Under no circumstances would this be an acceptable jury instruction. See, e.g., Cool v. United States,
  409 U.S. 100 (1972)(jury instruction questioning credibility of defense witness “places an improper
  burden on the defense, and allows the jury to convict despite its failure to find guilt beyond a
  reasonable doubt”); Mullaney v. Wilbur, 421 U.S. 684, 701–02 (1975)(requiring the defendant to
  prove absence of malice was unconstitutional burden shifting); Sandstrom v. Montana, 442 U.S. 510,
  524 (1979)(jury instruction that defendant is presumed to intend consequences improper burden
  shifting); Francis v. Franklin, 471 U.S. 307, 315–18 (1985) (state may not shift burden on defendant);
  Patterson v. Austin, 728 F.2d 1389, 1393–95 (11th Cir. 1984))(shifting burden “serious constitutional
  error”); United States v. Simon, 964 F.2d 1082, 1086–88 (11th Cir. 1992)(prosecutor commenting on
  defendant’s failure to rebut testimony unconstitutional burden shifting); United States v. Blakey, 14
  F.3d 1557, 1560–62 (11th Cir. 1994)(suggesting that there is any duty on the defendant to present
  evidence unconstitutional burden shifting); Woodard v. Sec’y, Fla. Dep’t of Corr., No. 3:18-cv-445-
  MMH, slip op. at 20–24 (M.D. Fla. May 26, 2021)(Howard, J.)(“the prosecution may not… ‘shift the
  burden of proof to the defendant or otherwise suggest that the defendant has an obligation to
  produce evidence or prove innocence.’”); Arnold v. Sec’y, Fla. Dep’t of Corr., No. 3:13-cv-1132-J-39,
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  of the government indicting someone for watching television or googling

  something” (Doc 110, p. 24), this may be because, until this court’s ruling, no

  court had found that the statute, by its terms, permits such an indictment and

  prosecution, 2 and until now, the Eleventh Circuit had closed “the floodgates of

  litigation” so that “the merely curious would [not] be prosecuted.” Snow v.

  DirecTV, Inc., 450 F.3d 1314, 1321 (11th Cir. 2006). Those floodgates have now been

  opened, and individuals may now be prosecuted for merely “acquiring the

  contents of a communication.” 3            Even if Mr. Burke is the first journalist to be



  slip op. at 45–49 (M.D. Fla. Mar. 6, 2018)(Davis, J.)(“[i]mproper suggestions, insinuations, or
  assertions” that misstate the burden or “appeal to prejudices”)
  2
    The closest are United States v. Councilman, 418 F.3d 67, 83 (1st Cir. 2005) noting that 18 USC
  2511(3), “authorizes a communication service provider to divulge a communication to one other
  than the recipient in four specified circumstances”and noting that “Congress addressed that
  problem with a broad, affirmative good faith defense: A good faith reliance on ... (3) a good faith
  determination that [§ 2511(3) ] permitted the conduct complained of[ ] is a complete defense
  against any civil or criminal action brought under [the Wiretap Act] or any other law. 18 U.S.C. §
  2520(d)(3).” In In re DoubleClick Inc. Priv. Litig., 154 F. Supp. 2d 497, 507–08 (S.D.N.Y. 2001) the
  court noted with respect to other provisions of the ECPA in 18 USC 2701(c):

          it appears that § 2701(c) is a statutory exception. First, § 2701(c) is entitled
         “Exceptions” and states “Subsection (a) of this section does not apply with
         respect to conduct ...” Second, § 2701(a) reinforces § 2701(c)'s function by carving
         out § 2701(c)'s exceptions in the very definition of the offense: “§ 2701(a)
         Offense.-Except as provided in subsection (c) of this section ...” Third, § 2707, the
         section that provides for a civil cause of action, subsection (e), is entitled
         “Defense” and specifies three affirmative defenses to civil claims under § 2707.
         Presumably, if Congress had intended § 2701(c)(1–3) to constitute affirmative
         defenses, it could have labeled them as such as it did in § 2707. Fourth, nothing
         in the legislative history suggests that § 2701(c) should be considered an
         affirmative defense instead of a statutory exception.
  3
    We can expect that other journalists - like the Atlantic magazine editor-in-chief Jeffrey Goldberg,
  who was inadvertently put on a Signal message chain with Secretary of Defense Hesgeth and
  others are now subject to having their computers and reportage seized and being prosecuted
  because they -- like Mr. Burke - “acquired the contents of an electronic communication,” and then
  “disclosed” those contents, subject to their presenting as an “affirmative defense” that the
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  prosecuted for acquiring communications without evidence or any assertion that

  the communications were not publicly accessible, who is to say that he won’t be

  the last. The floodgates are now open.

         The solution here is simple. If the government believes that the

  communications were taken from a server that was not configured to be readily

  accessible to the public - just say so. Re-present the case to a grand jury so that the

  grand jury can simply add the words “that was configured so that the

  communications were not readily accessible to the general public.”                          The

  government is literally litigating to be excused from the obligation of making --

  and proving -- this claim. The fact that they have not - and cannot - says everything

  we need to know about what the government intends to prove. As presently

  configured, wiretap counts must be dismissed.

         1. The Wiretap Statute is a Privacy Statute.

         The wiretap statute as a whole is intended to prevent the unlawful or non

  consensual acquisition of private communications -- it is a privacy statute. 4 In



  “interception” was lawful. Indeed, Goldberg, like Burke, is in a “better position” to present
  evidence about how he acquired the contents of the Signal message - suggesting that he would
  have the burden of doing so. Jeffrey Goldberg & Shane Harris, Here Are the Attack Plans That
  Trump’s     Advisers      Shared     on     Signal,   THE       ATLANTIC    (Mar.    26,   2025),
  https://www.theatlantic.com/politics/archive/2025/03/signal-group-chat-attack-plans-
  hegseth-goldberg/682176/(last visited April 24,2025) The problem is not that Goldberg could be
  tried and convicted -- he could not. The problem is that he could be tried and acquitted. By that
  point, the damage is done.
  4
    Snow v. DirecTV, Inc., 450 F. 3d 1314, 1320 (11th Cir., 2006)

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  United States v. McCann, 465 F.2d 147 (5th Cir. 1972), the court dealt with an

  unlawful interception of communications in which the participants had a

  reasonable expectation of privacy under 18 USC 2510(1), and considered whether

  the government had to additionally prove that these “private communications”

  were not consensually intercepted. The interception of “oral” communications

  inherently requires the government to prove both subjective and objective privacy

  -- and an invasion thereof. 18 U.S.C. 2510(1) and the application of the “consent”

  provision of 18 USC 2511(2)(d) does not fundamentally alter the criminal offense. 5

  Removing “consent” as an element the government must prove leaves a “perfectly

  cogent offense” - intercepting a private oral communication.

          Not so for the interception of electronic communications at issue here and in

  Snow v. DirecTV, Inc., 450 F. 3d 1314 (11th Cir., 2006). The definition of “electronic

  communications” under 18 USC 2510(12) has no element of “privacy” or




          The ECPA was enacted to update the then existing federal wiretapping law to
          protect the privacy of the growing number of electronic communications. See 132
          Cong. Rec. H4039 (1986) (statement of Rep. Kastenmeier). Since its inception, the
          ECPA provided "several clear exceptions to the bar on interception so as to leave
          unaffected electronic communication made through an electronic communication
          system designed so that such communication is readily available to the public."
          131 Cong. Rec. S11790-03 (1985) (statement of Sen. Leahy on a bill that was the
          precursor to the ECPA); see also 131 Cong. Rec. E4128 (1985) (statement of Rep.
          Kastenmeier on the same bill).
  5
    Under the “invited ear” exception, one always risks that a party to a communication will disclose it. See,
  e.g., Hoffa v. United States, 385 U.S. 293, 302 (1966). Thus, consensual interception by a party
  necessarily obviates the expectation of privacy in “oral communications.”
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  expectation of privacy. 6 It includes all communications “of any nature transmitted

  in whole or in part by a wire, radio, electromagnetic, photoelectronic or

  photooptical system…” Everything from a phone call, to a TV broadcast, to a radio

  broadcast, to social media, e-mail, text messages, streaming music, and indeed this

  document on the ECF system, including forms of communications we cannot

  today contemplate are covered by the definition. What the definition of “electronic

  communications” does not include, however, is any requirement that the

  “electronic communication” be private, or expected to be private, which

  distinguishes it from the “oral communication” considered in McCann.

         The “invasion of privacy” requirement - needed to make the conduct criminal -

  is found in section 2511(2)(g)(i) for electronic communications, and 2511(2)(g)(ii)(I)

  for radio communications, which the court reads out of the statute and makes an

  affirmative defense which the defendant must prove. It is not the case that the

  statute contains a prohibition subject to a defense. In the absence of the limitation

  there simply is no criminal conduct.

         As the Department of Justice noted “Because the definition of an electronic

  communication, as added by the 1986 Act, is so broad and all-inclusive, it became

  necessary to carve out some forms of electronic communications that either




  6
   The problem in Mr. Burke’s case is exacerbated by the fact that each of the allegedly intercepted
  communications are simultaneously and inconsistently alleged to be “oral, wire and electronic.”
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  appeared not to be deserving of privacy protection or where a policy decision was

  made by Congress not to include a specific form of electronic communication.”

  Department of Justice Criminal Resource Manual § 1056 (emphasis added).

        What this court does is to reincorporate that which Congress deliberately

  carved out as to not be criminal activity. We can all agree that “acquiring the

  contents” of a publicly accessible electronic communication is not only not a crime,

  but is a common, everyday and constitutionally protected activity. To comport

  with due process, the government in every criminal prosecution must prove

  beyond a reasonable doubt, the “fact[s] necessary to constitute the crime with

  which [the defendant] is charged.” In re Winship, 397 U.S. 358, 364 (1970). The court

  reduces these “facts” to the government’s showing that Mr. Burke, a journalist,

  “intentionally” “acquired the contents” of “a communication” which affected

  interstate commerce. These are NOT the “facts necessary to constitute a crime.”

  The critical elements of wrongfulness, impropriety, criminality, or even privacy

  invasion, are removed. There is simply and plainly no longer a “cogent offense”

  alleged.

         2.    The “Readily Accessible” Element Differs from Other Exclusions
  in the Statutory Scheme

        The “readily accessible to the general public” language in 18 USC

  2511(2)(g)(i) differs from other possible “exceptions or exclusions” under the

  statutory scheme.
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           If someone “intercepts” a private communication (a crime) but they are, for

  example, the operator of a switchboard, the “crime” (or invasion of privacy) is

  excused. The same is true if they are a law enforcement official with an appropriate

  Title III order or one party consent, or using an extension telephone, or other

  “exceptions.” By virtue of their position, authority or circumstance, they are

  permitted to invade the privacy of the communication. Forcing a defendant to prove

  that they are “authorized” to invade privacy acts in the same manner as other

  “affirmative defenses” - providing a justification for otherwise criminal conduct.

  They are “permitted” violations of the statute.

           Not so for the “readily accessible to the general public” elements in both

  section 2511(2)(g)(i)(for electronic communications) and 2511(2)(g)(ii)(I)(for radio

  communications). If a communication is “readily accessible to the public” such as

  a TV or radio broadcast, a public website, a public posting on social media, etc., it

  is afforded no protection under the statute - it is, as the DOJ notes, “carved out” from

  coverage. This is the same as the non-private “oral” communications in McCann.

  The statute does not - and indeed constitutionally cannot - reach such conduct. It

  is simply not a crime. The private nature of the communication is essential to the

  crime.

           If the statute is interpreted to prohibit “acquiring the contents of an

  electronic communication” as a “perfectly cogent offense,” the statute becomes

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  unconstitutionally overbroad, and violative of the First Amendment. The whole

  point of communications is that they are intended to be “acquired.” Without

  reference to the provisions of 18 USC 2511(2)(g), “the ingredients constituting the

  offense may be accurately and clearly defined” (Doc. 110 at p. 22 citing United

  States v. Cook, 84 U.S. 168, 173 (1872)). 7 These “ingredients” are merely acquiring

  communications. When a person tunes their radio to 95.3 to listen to Neil Solondz’

  play-by-play of the Rays game from Steinbrenner field, they are “acquiring the

  contents” of a wire communication, subjecting the Rays fan to seizure, arrest and

  prosecution, subject to their calling witnesses from WDAE in St. Petersburg to

  testify that the radio broadcast was accessible to the general public under 18 USC

  2511(2)(g)(ii)(I). It is of no mind that Mr. Burke can point to no prosecutions for such



  7
    In Cook, in the paragraph immediately preceding the quoted language, the Supreme Court
  noted, “Where a statute defining an offence contains an exception, in the enacting clause of the
  statute, which is so incorporated with the language defining the offence that the ingredients of
  the offence cannot be accurately and clearly described if the exception is omitted, the rules of
  good pleading require that an indictment founded upon the statute must allege enough to show
  that the accused is not within the exception…” The court went on to note “without an allegation
  that the accused is not within an exception contained in the statute defining the offence, it is clear
  that no indictment founded upon the statute can be a good one which does not contain such an
  allegation,...” The court concluded that there are circumstances where “it would be impossible to
  frame the actual statutory charge in the form of an indictment with accuracy, and the required
  certainty, without an allegation showing that the accused was not within the exception contained
  in the subsequent clause, section, or statute. Obviously such an exception must be pleaded, as
  otherwise the indictment would not present the actual statutory accusation, and would also be
  defective for the want of clearness and certainty.” Cook, supra. See also, Edward J. DeBartolo Corp.
  v. Florida Gulf Coast Bldg. & Constr. Trades Council, 485 U.S. 568, 575 (1988) (“[W]here an otherwise
  acceptable construction of a statute would raise serious constitutional problems, the Court will
  construe the statute to avoid such problems unless such construction is plainly contrary to the
  intent of Congress.”).

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 activity - what matters is that the court authorizes such prosecutions. The First

 Amendment creates a right to engage in these communications. The expurgated

 statute makes it a presumptive crime to engage in constitutionally protected

 speech.

       3.   Affirmative Defenses Typically Act As An Excuse or Justification
 for Otherwise Criminal Conduct

        Affirmative defenses like duress, incapacity, permission or consent, reliance

 on governmental authority, insanity, necessity, entrapment and others 8 are

 typically some “excuse” that permits or excuses otherwise criminal behavior, or

 which challenges the government's proof on a specific element (e.g., mental state)

 of an offense which is ordinarily presumed by conduct. Despite this, the initial

 conduct - what Winship calls the “facts related to the offense” must still be proven

 by the government - beyond a reasonable doubt.




 8
  Dixon v. United States, 548 U.S. 1 (2006)(duress is affirmative defense); Patterson v. New York, 432
 U.S. 197, 210 (1977)(affirmative defense of extreme emotional disturbance); Clark v. Arizona, 548
 U.S. 735 (2006)(insanity) see also 18 U.S.C. § 17; Martin v. Ohio, 480 U.S. 228, 233–34 (1987) (self-
 defense); Smith v. United States, 568 U.S. 106 (2013) and United States v. Finestone, 816 F.2d 583,
 589 (11th Cir. 1987) (withdrawl from a conspiracy); United States v. Maxwell, 254 F.3d 21, 26 (11th
 Cir. 2001)(entrapment); United States v. Ryan, 289 F.3d 1339 (11th Cir. 2002)(inducement); United
 States v. Hough, 803 F.3d 1181, 1188 (11th Cir. 2015)(good-faith defense in a tax fraud case); United
 States v. Deleveaux, 205 F.3d 1292 (11th Cir. 2000)(justification/necessity); United States v. Juan, 776
 F.2d 256, 258 (11th Cir. 1985)(reliance on government authority). United States v. Castanos, No. 20-
 11618 (11th Cir. July 7, 2020)(consent as a defense to wrongful retention of a child); United States
 v. Rosenthal, 793 F.2d 1214 (11th Cir. 1986)(reliance on actual governmental authority
 distinguished from apparent authority as a defense); Sullivan v. United States, No. 15-13993 (11th
 Cir. Sept. 20, 2016)(voluntary intoxication not a defense); 18 U.S.C. § 373(b)(renunciation as an
 affirmative defense to solicitation of a crime).
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        In the wiretap statute considered by the McCann court, “consent” of the

 parties was just such an “excuse” - the defendant invaded a private conversation,

 but claimed that he was excused from violating the law because it was done with

 consent. The Court found that the statute permitted such burden shifting. 9

        In Snow and here, the public nature of the communication is not an “excuse”

 permitting otherwise criminal activity. If the communication is “public” it is not

 covered by the statutory prohibition - it is simply not a crime - not that it excuses a

 crime. It’s not a crime to listen to the radio, watch TV, or browse the web. Just like

 the oral communications in McCann which required the government to

 demonstrate the existence of a reasonable expectation of privacy, the government

 must demonstrate that the electronic communications here were not readily

 accessible to the public. Without this, there is no crime - or worse, without this as

 an element, the “crime” is so broad as to encroach fundamental rights under the

 Constitution.




 9
   The McCann court did not, however, address the due process implications of such burden
 shifting. In In re Winship, 397 U.S. 358, 364 (1970) the Supreme Court held that due process
 requires the prosecution to prove beyond a reasonable doubt "every fact necessary to constitute
 the crime charged." Mullaney v. Wilbur, 421 U.S. 684 (1975)(“the State has affirmatively shifted the
 burden of proof to the defendant. The result, in a case such as this one, where the defendant is
 required to prove the critical fact in dispute, is to increase further the likelihood of an erroneous
 murder conviction.”); Speiser v. Randall, 357 U. S. 513, 357 U. S. 525-526 (1958)(“[W]here one party
 has at stake an interest of transcending value -- as a criminal defendant his liberty -- th[e] margin
 of error is reduced as to him by the process of placing on the [prosecution] the burden . . . of
 persuading the factfinder at the conclusion of the trial. . . .).
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        To comport with due process alone, the indictment must, at a minimum,

 allege that the communications Mr. Burke is alleged to have acquired were not on

 a server configured to be readily accessible to the public, just as the McCann

 indictment alleged (directly or inferentially) that the “oral” communications

 intercepted there were uttered by a person with an expectation of privacy. 10

      4.    Mr. Burke is Not in A “Better Position” To Show How StreamCo
 Configured its Servers

        The court next notes that burden shifting in this case is appropriate because

 “Burke is uniquely better equipped to adduce evidence about how he went about

 getting the communications.” (Doc 110, p.24). In almost every criminal case, a

 defendant is “better equipped to adduce evidence” about what they did or what

 they are alleged to have done.               The Fifth Amendment, however, means a

 defendant cannot be compelled to testify or present such evidence. It is, and

 remains entirely the government’s burden to demonstrate to the jury “how [or

 whether] Burke went about getting the communications.”                            The defendant


 10
    The indictment disingenuously dances around this requirement. It asserts that The StreamCo-
 Net [the website granting access to the file with the web addresses or BID’s] was designed to limit
 access to only authorized customers through the Internet via a secured password-protected
 website that required customers to first enter assigned credentials before gaining access and that
 the “preview” streams (the communications that Burke allegedly acquired) were “viewable by
 accessing specific uniform resource locators ("URLS") that were composed of letters, numbers,
 and symbols and included a unique StreamCo-assigned "BID," generated by an algorithm, that
 functioned much like a Social Security number.” The indictment asserts that “[t]he BIDs ranged
 from 9-16 characters and were associated with the StreamCo devices” and each “device was
 typically only associated with a discrete StreamCo customer and was not typically shared
 between StreamCo customers.” What the indictment -- and the affidavit in support of the search warrant
 -- do not allege is that the communications themselves were not “readily accessible to the public.”
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 emphatically and categorically rejects the court’s kind invitation to take on the

 burden of adducing such evidence.

         The court also incorrectly assumes that Mr. Burke, under F.R. Crim. P. 17(c),

 is “better equipped” than the government to compel the attendance of a witness

 from Stream-Co and to present network diagrams, configurations, settings and

 topographies, as well as testimony to establish whether the system was

 “configured so that the communications were readily accessible to the general

 public.”     The test for whether the communications were so accessible is an

 objective test - based on the configuration of the servers - not something based on

 Burke’s state of mind or something only he would know. 11                                 The court

 contemplates forcing the journalist to testify about “how he went about getting the

 communications” rather than forcing the government to prove that he did so

 unlawfully. Even though the court “suspect[s that] much of the trial will be


 11
   In re Innovatio IP Ventures, LLC Pat. Litig., 886 F. Supp. 2d 888, 894 (N.D. Ill. 2012)(“The public's
 lack of awareness of the ease with which unencrypted Wi–Fi communications can be intercepted
 by a third party is, however, irrelevant to a determination of whether those communications are
 “readily accessible to the general public.” 18 U.S.C. § 2511(2)(g)(i). The language of the exception
 does not, after all, refer to “communications that the general public knows are readily accessible
 to the general public.” Therefore, the public's expectation of privacy in a particular
 communication is irrelevant to the application of the Wiretap Act as currently written. Because
 data packets sent over unencrypted Wi–Fi networks are readily accessible using the basic
 equipment described above, the Wiretap Act does not apply here.” Accord, Davis v. HDR Inc., 652
 F. Supp. 3d 1087, 1096 (D. Ariz. 2023), appeal dismissed, No. 23-15233, 2023 WL 5367499 (9th Cir.
 May 10, 2023)(“the legal question is not what her expectation of privacy was when posting, but
 rather, whether her communications were, in fact, “readily accessible to the public.”... Plaintiff
 may have wanted her posts to be seen only by the members of these two private groups… but
 that is irrelevant to the question of whether her posts were, in fact, readily accessible to the general
 public.”
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 devoted to presenting evidence of how Burke obtained the electronic

 communications” the court improperly imposes the burden on the defendant - not

 the government - to establish these facts.

        5.   Removing the “Readily Accessible” Element Makes the Statute
 Itself Unconstitutional

        “Congress did not intend to criminalize … acts of individuals who

 "intercept" or "access" communications that are otherwise readily accessible by the

 general public.” Snow v. DirecTv, Inc., 450 F.3d 1314 (11th Cir. 2006) (noting that

 proof that the communication is not readily accessible is “an essential element” of

 the offense). The court’s formulation does exactly that by making the government

 prove only that a defendant “acquired the contents of a communication.” This is

 a major reinterpretation of the statutory requirement, impacting significant social

 consequences, which Snow recognized was inconsistent with the intent of

 Congress. 12


 12
    Courts should not interpret statutory provisions to resolve "major questions" involving
 significant economic, political, or social consequences absent a clear statement from Congress.
 See West Virginia v. EPA, 597 U.S. 697, 721–722 (2022); Utility Air Regulatory Grp. v. EPA, 573 U.S.
 302, 324 (2014); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000). "Congress,...
 does not … one might say, hide elephants in mouseholes." Whitman v. Am. Trucking Ass’ns, 531
 U.S. 457, 468 (2001). The doctrine applies with particular force where, as here, the court seeks to
 reinterpret or expand a long-standing statute—the Wiretap Act—to criminalize previously
 unpunished conduct -merely acquiring electronic communications. This includes journalistic
 access to content that is publicly available online. The Major Questions Doctrine requires "clear
 congressional authorization" before a court or agency may interpret a statute to resolve questions
 of major importance. West Virginia, 597 U.S. at 721–722. Accord, Georgia v. President of the United
 States, 46 F.4th 1283, 1308 (11th Cir. 2022); Florida v. Dep’t of Health & Human Servs., 19 F.4th 1271,
 1287–88 (11th Cir. 2021); Properties of the Villages, Inc. v. FTC, No. 5:24-cv-00316, 2024 WL 4851234,
 at *7–9 (M.D. Fla. Aug. 14, 2024)(Corrigan, J.)(enjoining the FTC’s non-compete rule based on the
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        The breadth of such a statute creates a chilling effect on protected speech.

 Ashcroft v. Free Speech Coalition, 535 U.S. 234, 244 (2002). Even if a journalist were

 ultimately acquitted of the charge of “acquiring a communication” at trial by

 proving to the petit jury that the communication was “readily accessible,” the fact

 that they were subject to arrest, search, seizure, indictment and trial for

 constitutionally protected activity would undoubtedly chill free speech. As the

 Ashcroft court noted “[t]he Constitution gives significant protection from

 overbroad laws that chill speech within the First Amendment’s vast and privileged

 sphere.” See, NAACP v. Button, 371 U.S. 415, 433 (1963)(“Because First

 Amendment freedoms need breathing space to survive, government may regulate

 in the area only with narrow specificity”); Reno v. ACLU, 521 U.S. 844, 872

 (1997)(“Even the prospect of enforcement may cause speakers to self-censor.”);

 Baggett v. Bullitt, 377 U.S. 360, 372 (1964)(“The threat of sanctions may

 deter...almost as potently as the actual application of sanctions.”); Keyishian v. Bd.

 of Regents, 385 U.S. 589 (1967)(“The danger of that chilling effect upon the exercise

 of vital First Amendment rights must be guarded against by sensitive tools which

 clearly inform...what is being proscribed.”). Indeed, while the Supreme Court in

 Bartnicki v. Vopper, 532 U.S. 514 (2001) found that the First Amendment protected




 Major Questions Doctrine). No such clear statement exists in the text or legislative history of §
 2511, indeed, the text and history suggest exactly the opposite.
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 journalists who “disclose” the contents of communications they knew were

 acquired in violation of the statute; the party to whom the communication was

 “disclosed”     would      have     themselves      “acquired      the     contents”    of    that

 communication, which the court here makes an offense, if acquired electronically.

        This chilling effect is especially powerful where, as here, the speech

 concerns criticism of the government, news reporting, or whistleblowing—areas

 that are central to the “uninhibited, robust, and wide-open” public discourse

 protected by New York Times Co. v. Sullivan, 376 U.S. 254, 270 (1964). Based at least

 in part upon a showing that Mr. Burke “acquired the contents of a

 communication” (without any showing that this communication was not readily

 accessible to the public), 13 the government here raided and seized the contents of

 his newsroom - a shot across the bow to any journalist warning against what might

 happen should they have the temerity to collect and publish information. While

 newsrooms are not immune from searches, “In searches of press offices, the

 potential for impinging upon First Amendment values calls for scrupulous


 13
   The problem is particularly acute at stages of a criminal process which afford the defendant no
 opportunity to present what the court now concludes is an “affirmative defense.” Removing any
 element of invasion of privacy from the requirement for the government to go forward permits a
 Magistrate Judge to issue a search warrant based on evidence that a defendant “acquired the
 contents of a communication” since the prosecutors or agents would have no duty to allege or
 establish the “affirmative defense” of lack of public accessibility. The same is true for Title III
 wiretap orders, pen registers, CIPA warrants, arrest warrants, orders under the All Writs Act,
 grand jury proceedings, indictments, arrest warrants or detainers, or any other ex parte
 proceeding. In all of these proceedings, the defendant does not participate and the government
 need, according to the court, present no evidence other than that the defendant “obtained the
 contents of a communication.”
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 adherence to procedural safeguards.” Zurcher v. Stanford Daily, 436 U.S. 547, 565

 (1978). If the government need only show that a journalist “acquired the contents

 of a communication” to seize a newsroom, any reporter can have their privileged

 information seized. This does not comport with “scrupulous adherence.”

       If the court is correct, and the statute may constitutionally be applied to any

 activity which “acquires the contents of an electronic communication” then the

 statute “lends itself to harsh applications... and, more importantly, leaves wide

 open the standard of responsibility.” Gooding v. Wilson, 405 U.S. 518, 521–22 (1972).

 This is particularly true “[b]ecause overbroad laws may chill the expression of

 protected speech, [and therefore] courts must be especially vigilant in scrutinizing

 restrictions that carry criminal penalties.” Broadrick v. Oklahoma, 413 U.S. 601, 611–

 12 (1973). “The vagueness and breadth of the statute operate to inhibit the exercise

 of individual freedoms.” Keyishian v. Bd. of Regents, 385 U.S. 589, 604 (1967).

       Under the court’s interpretation of the statute - every journalist - and indeed

 every person, runs the risk that the government will prosecute them for normal,

 everyday activities like searching the web or streaming video content, and then

 require them to waive their Fifth Amendment rights and affirmatively “adduce

 evidence” of how they obtained the contents, and why it was not illegal. Even if

 they are successful in doing so, they will be discouraged from engaging in

 constitutionally protected - and encouraged - conduct. Even more disturbing is

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 the fact that the government - and the Magistrate Judge issuing the search warrant

 in this case - both must have assumed that merely “acquiring the contents of a

 communication” was enough of a crime to warrant seizing a newsroom.

       5. Conclusion

       If, as the district court suggests, § 2511(1)(a) criminalizes only the intentional

 acquisition of the contents of any communication without reference to whether

 that communication was private, protected, secured, or restricted, then the statute

 is facially unconstitutional. It criminalizes a wide array of speech and information-

 gathering conduct that lies at the heart of the First Amendment. Its overbreadth is

 substantial, its deterrent effect immediate, and its application plainly inconsistent

 with decades of First Amendment doctrine. The Court’s construction transforms a

 narrow privacy law into a speech crime of general application, subjecting

 journalists, researchers, and private citizens to prosecution for nothing more than

 accessing or receiving truthful information. If the statute requires the defendant

 to “adduce evidence” of how he acquired the communication, and prove that he

 did so lawfully, it similarly violates the Fifth and Sixth Amendments.




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 Such a statute cannot stand, and we urge the court to reconsider. The current

 indictment - which wholly fails to allege “criminal” interception - must be

 dismissed.

                           LOCAL RULE 3.01 CERTIFICATION

       Given Local Rule deadlines concerning the filing for reconsideration,

 Counsel files this Motion without the benefit of a completed conferral, but based

 on the original position of the Government and its response to the Motion, it is

 presumed that the Government objects to the requested relief.



 Respectfully submitted,

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                          CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 25th day of April 2025, I electronically filed

 the foregoing with the Clerk of Court by using the CM/ECF system.


                                              s/Michael P. Maddux
                                              Michael P. Maddux, Esquire




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